Case 2:17-cv-08726-DSF-AFM Document 42-1 Filed 01/07/20 Page 1 of 36 Page ID
                                 #:1069


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10   HEALTH CARE ADVANTAGE, THE LELAND
     STANFORD JUNIOR UNIVERSITY, and DEBRA
11   ZUMWALT
                         UNITED STATES DISTRICT COURT
12
                       CENTRAL DISTRICT OF CALIFORNIA
13
     UNITED STATES OF AMERICA                   Case No. 2:17-cv-08726-DSF-AFM
14                                              Assigned to the Honorable Dale S.
                and                             Fischer, [Courtroom 7D]
15
   THE STATE OF CALIFORNIA                      MEMORANDUM OF POINTS AND
16 Ex. Relator Emily Roe., an individual;       AUTHORITIES IN SUPPORT OF
                                                MOTION TO DISMISS FIRST
17 Plaintiffs,                                  AMENDED COMPLAINT

18        v.                         [Filed concurrently with Notice of Motion
                                     to Dismiss First Amended Complaint and
19   STANFORD HEALTHCARE BILLING [Proposed] Order Granting Defendant’s
     DEPARTMENT, STANFORD HEALTH Motion Dismiss First Amended
20   CARE (FORMERLY KNOWN AS         Complaint]
     STANFORD HOSPITALS AND
21   CLINICS), DR. FREDERICK DIRBAS, Hearing
     DEBRA ZUMWALT, THE BOARD OF
22   DIRECTORS OF THE STANFORD       Date: February 10, 2020
     HEALTH CARE, THE BOARD OF       Time: 1:30 p.m.
23   DIRECTORS OF THE LUCILE SALTER Ctrm: First Street Courthouse
     PACKARD CHILDREN’S HOSPITAL            Courtroom 7D
24   AT STANFORD, THE LELAND                350 West 1st Street
     JUNIOR UNIVERSITY, THE BOARD           Los Angeles, CA 90012
25   OF TRUSTEES OF STANFORD
     UNIVERSITY, STANFORD HEALTH
26   CARE ADVANTAGE and DOES 1-10, Complaint Filed: December 4, 2017
     inclusive.                      First Amended Complaint: June 22, 2018
27
       Defendants.
28

                             MEMORANDUM OF POINTS AND AUTHORITIES
                     IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
Case 2:17-cv-08726-DSF-AFM Document 42-1 Filed 01/07/20 Page 2 of 36 Page ID
                                 #:1070


 1                                            TABLE OF CONTENTS
 2   I.     Introduction ............................................................................................ 1
 3
     II.    Procedural History and Background ...................................................... 2
 4
     III.   Legal Standard ........................................................................................ 3
 5
     A.     Federal Rules of Civil Procedure (“Rule”) 8(a) and
 6
            12(b)(6) ................................................................................................... 3
 7
     B.     Rule 9(b) ................................................................................................. 3
 8
     IV.    Argument ................................................................................................ 4
 9
10   A.     Relator’s FCA and CFCA Claims (Counts I & III) Must be
            Dismissed Under the Public Disclosure Bar. ......................................... 4
11
                     1.        Relator’s allegations are “substantially the same” as
12
                               “allegations or transactions” previously disclosed through
13                             public sources. ................................................................... 5
14                   2.        Relator is not an “original source” of any information upon
15                             which a FCA or CFCA claim may be based. .................... 8
16   B.     The FAC Does Not State Any Claim for Relief Under the
            FCA or CFCA (Counts I & III). ........................................................... 11
17
18                   1.        Relator does not allege any false statement to the
                               government. ..................................................................... 12
19
20                   2.        Relator does not allege knowledge of any false or
                               fraudulent statement to the government. ......................... 16
21
                     3.        Relator does not plausibly allege the materiality of any
22                             allegedly false statement. ................................................. 18
23
     C.     The FAC Falls Far Short of What is Required to Plead FCA
24          or CFCA Claims (Counts I & III) Under Rule 9(b). ............................ 19
25                   1.        The FAC does not identify any specific Defendant’s role in
26                             Relator’s imagined schemes. ........................................... 19
27                   2.        The FAC never reveals which of the FCA’s or CFCA’s
28                             many causes of action Relator is attempting to allege. ... 20

                                                    i
                               MEMORANDUM OF POINTS AND AUTHORITIES
                       IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
Case 2:17-cv-08726-DSF-AFM Document 42-1 Filed 01/07/20 Page 3 of 36 Page ID
                                 #:1071


 1                  3.        The FAC has no allegations about the majority of
 2                            Defendants. ...................................................................... 21

 3                  4.        Relator does not allege one fact that could support liability
                              against SHCA. ................................................................. 22
 4
 5                  5.        The FAC alleges nothing more than an impermissible
                              nuisance suit against Ms. Zumwalt. ................................ 22
 6
                    6.        The FAC is replete with impermissible speculation. ...... 23
 7
 8   D.    Relator’s Remaining State Law Claims (Count IV) Must be
           Dismissed. ............................................................................................ 24
 9
     E.    The Court Should Dismiss the FAC with Prejudice. ........................... 25
10
11   V.    Conclusion ............................................................................................ 25
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                   ii
                              MEMORANDUM OF POINTS AND AUTHORITIES
                      IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
Case 2:17-cv-08726-DSF-AFM Document 42-1 Filed 01/07/20 Page 4 of 36 Page ID
                                 #:1072


 1                                          TABLE OF AUTHORITIES
 2                                                                                                                    Page(s)
 3   CASES

 4   A-1 Ambulance Serv., Inc. v. California,
        202 F.3d 1238 (9th Cir. 2000) ..................................................................... 8, 9, 10
 5
 6   Ashcroft v. Iqbal,
        556 U.S. 662 (2009) ............................................................................ 3, 14, 21, 24
 7
     Azar v. Allina Health Servs.,
 8
        --- U.S. ---, 139 S. Ct. 1804, 204 L. Ed. 2d 139 (2019) ...................................... 15
 9
     Bell Atl. Corp. v. Twombly,
10      550 U.S. 544 (2007) ............................................................................................ 24
11
     Bly-Magee v. California,
12      236 F.3d (9th Cir. 2001) ...................................................................................... 23
13   Cafasso v. Gen. Dynamics C4 Sys., Inc.,
14     637 F.3d 1047 (9th Cir. 2011) ...................................................................... passim
15   California v. Altus Fin., S.A.,
       116 P.3d 1175 (Cal. 2005)..................................................................................... 4
16
17   Dingle v. Bioport Corp.,
        388 F.3d 209 (6th Cir. 2004) ............................................................................... 11
18
19   Ebeid ex rel. United States v. Lungwitz,
       616 F.3d 993 (9th Cir. 2010) ................................................................... 12, 19, 24
20
     Gerritsen v. Warner Bros. Entm’t Inc.,
21     112 F. Supp. 3d 1011 (C.D. Cal. 2015) ................................................................. 7
22
     Gonzalez v. Planned Parenthood of L.A.,
23     No. cv-05-8818-AHM-FMOx, 2012 WL 2412080 (C.D. Cal. June
24     26, 2012) .............................................................................................................. 16

25   Graham Cty. Soil & Water Conservation Dist. v. United States ex rel.
       Wilson,
26     559 U.S. 280 (2010) .............................................................................................. 5
27
28

                                                      iii
                                 MEMORANDUM OF POINTS AND AUTHORITIES
                         IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
Case 2:17-cv-08726-DSF-AFM Document 42-1 Filed 01/07/20 Page 5 of 36 Page ID
                                 #:1073


 1   Hagood v. Sonoma Cty. Water Agency,
 2     81 F.3d 1465 (9th Cir. 1996) ........................................................................... 9, 17

 3   Hooper v. Lockheed Martin Corp.,
       688 F.3d 1037 (9th Cir. 2012) ............................................................................. 11
 4
 5   In re Century Aluminum Co. Sec. Litig.,
        729 F.3d 1104 (9th Cir. 2013) ............................................................................. 14
 6
     In re NVIDIA Corp. Sec. Litig.,
 7
        768 F.3d 1046 (9th Cir. 2014) ............................................................................... 7
 8
     Kubin v. Abode Servs. Agency,
 9     No. 18-cv-00658-MEJ, 2018 WL 776355 (N.D. Cal. Feb. 8, 2018) .................. 21
10
     Neubronner v. Milken,
11     6 F.3d 666 (9th Cir. 1993) ................................................................................... 24
12   Polansky v. Exec. Health Res., Inc.,
13      No. 12-CV-4239, 2019 WL 5790061 (E.D. Pa. Nov. 5, 2019)........................... 15
14   Schindler Elevator Corp. v. United States ex rel. Kirk,
        563 U.S. 401 (2011) .............................................................................................. 6
15
16   Seal 1 v. Seal A,
        255 F.3d 1154 (9th Cir. 2001) ............................................................................... 6
17
18   Steckman v. Hart Brewing, Inc.,
        143 F.3d 1293 (9th Cir. 1998) ............................................................................. 25
19
     Swartz v. KPMG LLP,
20     476 F.3d 756 (9th Cir. 2007) ................................................................................. 4
21
     Todd v. Fid. Nat’l Fin., Inc.,
22     No. 12-cv-00666-REB-CBS, 2014 U.S. Dist. LEXIS 130256 (D.
23     Colo. Aug. 19, 2014) ........................................................................................... 13

24   U.S. ex rel. Joseph v. Brattleboro Retreat,
        No. 2:13-CV-55, 2014 WL 3908432 (D. Vt. Aug. 10, 2014) ............................... 5
25
26   U.S. ex rel. Solis v. Millennium Pharm., Inc.,
        885 F.3d 623 (9th Cir. 2018) ..................................................................... 8, 11, 16
27
28

                                                     iv
                                MEMORANDUM OF POINTS AND AUTHORITIES
                        IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
Case 2:17-cv-08726-DSF-AFM Document 42-1 Filed 01/07/20 Page 6 of 36 Page ID
                                 #:1074


 1   United States ex rel. Aflatooni v. Kitsap Physicians Serv.,
 2     314 F.3d 995 (9th Cir. 2002) ................................................................... 12, 13, 14

 3   United States ex rel. Beauchamp v. Academi Training Ctr.,
       816 F.3d 37 (4th Cir. 2016) ................................................................................... 7
 4
 5   United States ex rel. California v. City of L.A.,
       No. cv-02-02278-SJO, 2009 WL 10672350 (C.D. Cal. June 5,
 6     2009), aff’d sub nom. United States ex rel. Mosler v. City of Los
 7     Angeles, 414 F. App’x 10 (9th Cir. 2010) ....................................................... 8, 11

 8   United States ex rel. Calva v. Impac Secured Assets Corp.,
       No. SACV-16-1983-JVS, 2018 WL 6016152 (C.D. Cal. June 12,
 9
       2018) .................................................................................................................... 10
10
     United States ex rel. Cook v. Providence Health & Servs.,
11     No. C13-1312RAJ, 2014 WL 4094116 (W.D. Wash. Aug. 18,
12     2014) .................................................................................................................... 16
13   United States ex rel. Crennen v. Dell Mktg. L.P.,
       711 F. Supp. 2d 157 (D. Mass. 2010).................................................................. 14
14
15   United States ex rel. Dan Abrams Co. v. Medtronic, Inc.,
       No. LA-cv-15-01212 JAK, 2017 WL 4023092 (C.D. Cal. Sept. 11,
16     2017) .................................................................................................................... 19
17
     United States ex rel. Findley v. FPC-Boron Employees’ Club,
18     105 F.3d 675 (D.C. Cir. 1997) overruled on other grounds by
19     United States ex rel. Davis v. District of Columbia, 679 F.3d 832
       (D.C. Cir. 2012) ..................................................................................................... 8
20
     United States ex rel. Fine v. Sandia Corp.,
21     70 F.3d 568 (10th Cir. 1995) ................................................................................. 8
22
     United States ex rel. Folliard v. Comstor Corp.,
23     308 F. Supp. 3d 56 (D.D.C. 2018) ...................................................................... 19
24   United States ex rel. Frazier v. IASIS Healthcare Corp.,
25     812 F. Supp. 2d 1008 (D. Ariz. 2011) ................................................................... 5
26   United States ex rel. Gross v. AIDS Research All.-Chicago,
27     415 F.3d 601 (7th Cir. 2005) ............................................................................... 16

28

                                                       v
                                  MEMORANDUM OF POINTS AND AUTHORITIES
                          IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
Case 2:17-cv-08726-DSF-AFM Document 42-1 Filed 01/07/20 Page 7 of 36 Page ID
                                 #:1075


 1   United States ex rel. Grubbs v. Kanneganti,
 2     565 F.3d 180 (5th Cir. 2009) ............................................................................... 23

 3   United States ex rel. Hartpence v. Kinetic Concepts, Inc.,
       792 F.3d 1121 (9th Cir. 2015) ............................................................................... 8
 4
 5   United States ex rel. Hartpence v. Kinetic Concepts, Inc.,
       No. 208-cv-01885CASAGR, 2019 WL 3291582 (C.D. Cal. June
 6     14, 2019) .............................................................................................................. 19
 7
     United States ex rel. Hastings v. Wells Fargo Bank, NA Inc.,
 8     656 F. App’x 328 (9th Cir. 2016) ........................................................................ 10
 9   United States ex rel. Hendow v. Univ. of Phoenix,
10     461 F.3d 1166 (9th Cir. 2006) ............................................................................. 14
11   United States ex rel. Hopper v. Anton,
       91 F.3d 1261 (9th Cir. 1996) ......................................................................... 15, 16
12
13   United States ex rel. Integra Med Analytics LLC v. Providence Health
       & Servs.,
14     No. cv-17-1694 PSG, 2019 WL 3282619 (C.D. Cal. July 16, 2019) .................... 7
15
     United States ex rel. JDJ & Assocs. LLP v. Natixis,
16     No. 15-cv-5427 (PKC), 2017 WL 4357797 (S.D.N.Y. Sept. 29,
17     2017) .................................................................................................................... 10

18   United States ex rel. Karvelas v. Melrose-Wakefield Hosp.,
       360 F.3d 220 (1st Cir. 2004) ............................................................................... 14
19
20   United States ex rel. Kraxberger v. Kansas City Power & Light Co.,
       756 F.3d 1075 (8th Cir. 2014) ............................................................................... 9
21
     United States ex rel. Lee and Mshuja v. Corinthian Colls.,
22     655 F.3d 984 (9th Cir. 2011) ................................................................... 17, 20, 21
23
     United States ex rel. Lee v. Corinthian Colls.,
24     No. cv-07-1984 PSG, 2013 WL 12114015 (C.D. Cal. Mar. 15,
25     2013) .................................................................................................................... 11

26   United States ex rel. Longstaffe v. Litton Indus., Inc.,
       296 F. Supp. 2d 1187 (C.D. Cal. 2003) ............................................................... 11
27
28

                                                       vi
                                  MEMORANDUM OF POINTS AND AUTHORITIES
                          IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
Case 2:17-cv-08726-DSF-AFM Document 42-1 Filed 01/07/20 Page 8 of 36 Page ID
                                 #:1076


 1   United States ex rel. Martinez v. Orange Cty. Glob. Med. Ctr., Inc.,
 2     No. 8:15-cv-01521JLSDFM, 2017 WL 9482462 (C.D. Cal. Sept.
       14, 2017) ........................................................................................................ 18, 19
 3
     United States ex rel. Mateski v. Raytheon Co.,
 4
       816 F.3d 565 (9th Cir. 2016) ................................................................................. 7
 5
     United States ex rel. Meyer v. Horizon Health Corp.,
 6     565 F.3d 1195 (9th Cir. 2009), overruled on other grounds by
 7     Kinetic Concepts, Inc., 792 F.3d 1121 .................................................................. 9

 8   United States ex rel. Modglin v. DJO Glob. Inc.,
       114 F. Supp. 3d 993 (C.D. Cal. 2015), aff’d sub nom. United States
 9
       v. DJO Glob., Inc., 678 F. App’x 594 (9th Cir. 2017) ............................ 17, 20, 25
10
     United States ex rel. Osheroff v. Humana, Inc.,
11     776 F.3d 805 (11th Cir. 2015) ........................................................................... 7, 9
12
     United States ex rel. Petratos v. Genentech Inc.,
13     855 F.3d 481 (3rd Cir. 2017) ............................................................................... 13
14   United States ex rel. Rosales v. San Francisco Hous. Auth.,
15     173 F. Supp. 2d 987 (N.D. Cal. 2001)................................................................... 9
16   United States ex rel. Ruhe v. Masimo Corp.,
17     977 F. Supp. 2d 981 (C.D. Cal. 2013), aff’d, 640 F. App’x 666 (9th
       Cir. 2016) ............................................................................................................. 15
18
     United States ex rel. Swoben v. Scan Health Plan,
19     No. cv-09-5013-JFW, 2017 WL 4564722 (C.D. Cal Oct. 5, 2017) .............. 18, 20
20
     United States ex rel. Winkelman v. CVS Caremark Corp.,
21     827 F.3d 201 (1st Cir. 2016) ............................................................................... 10
22   United States ex rel. Zizic v.Q2Adm’rs., LLC,
23     728 F.3d 228 (3d Cir. 2013) ................................................................................ 10
24   United States v. CalPortland Constr.,
25     No. cv-16-04479-JFW, 2018 WL 6262877 (C.D. Cal. Mar. 9, 2018) .......... 22, 23

26   United States v. Catholic Healthcare W.,
       445 F.3d 1147 (9th Cir. 2006), abrogated on other grounds by
27     Schindler Elevator Corp., 563 U.S. 401................................................................ 8
28

                                                     vii
                                 MEMORANDUM OF POINTS AND AUTHORITIES
                         IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
Case 2:17-cv-08726-DSF-AFM Document 42-1 Filed 01/07/20 Page 9 of 36 Page ID
                                 #:1077


 1   United States v. Chapman Univ.,
 2     No. SACV-04-1256 JVS, 2006 U.S. Dist. LEXIS 53686 (C.D. Cal.
       May 23, 2006)...................................................................................................... 23
 3
     United States v. Ctr. for Diagnostic Imaging, Inc.,
 4
       787 F. Supp. 2d 1213 (W.D. Wash. 2011) .......................................................... 24
 5
     United States v. Honeywell Int’l, Inc.,
 6     No CV-12-2214 JAK (JCG), 2013 WL 12122693 (C.D. Cal. Nov.
 7     8, 2013) .................................................................................................................. 7

 8   United States v. Johnson Controls, Inc.,
       457 F.3d 1009 (9th Cir. 2006) ............................................................................... 4
 9
10   United States v. Kiewit Pac. Co.,
       41 F. Supp. 3d 796 (N.D. Cal. 2014)............................................................... 4, 20
11
     United States v. North Am. Health Care, Inc.,
12
       173 F. Supp. 3d 943 (N.D. Cal. 2016)............................................................. 9, 13
13
     United States v. Sequel Contractors, Inc.,
14     402 F. Supp. 2d 1142 (C.D. Cal. 2005) ................................................................. 4
15
     United States v. Todd Spencer M.D. Med. Grp.,
16     No. 1:11-CV-1776-LJO-SMS, 2016 WL 7229135 (E.D. Cal. Dec.
17     14, 2016) ................................................................................................................ 3

18   United States v. United Healthcare Ins. Co.,
       848 F.3d 1161 (9th Cir. 2016) ........................................................... 13, 15, 19, 20
19
20   Universal Health Servs., Inc. v. United States ex rel. Escobar,
       136 S. Ct. 1989 (2016) .................................................................................. 17, 18
21
     Vess v. Ciba-Geigy Corp. USA,
22      317 F.3d 1097 (9th Cir. 2003) ............................................................................. 21
23
     Wade v. Regional Credit Ass’n,
24     87 F.3d 1098 (9th Cir. 1996) ............................................................................... 25
25   FEDERAL RULES OF CIVIL PROCEDURE
26
     Rule 8(a) ........................................................................................................... 3, 4, 17
27
     Rule 9(b) ............................................................................................................ passim
28

                                                      viii
                                  MEMORANDUM OF POINTS AND AUTHORITIES
                          IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
Case 2:17-cv-08726-DSF-AFM Document 42-1 Filed 01/07/20 Page 10 of 36 Page ID
                                 #:1078


  1   Rule 12(b)(6)........................................................................................................... 3, 4
  2
      FEDERAL RULES OF EVIDENCE
  3
      Federal Rule of Evidence 201 .................................................................................... 7
  4
      STATUTES
  5
  6   31 U.S.C. § 3729(a)(1) ................................................................................. 12, 20, 21

  7   31 U.S.C. § 3729(b)(1)(A)........................................................................................ 17
  8   31 U.S.C. § 3730(e)(4) ....................................................................................... 5, 8, 9
  9
      Cal. Gov’t Code § 12650(b) ............................................................................... 16, 17
 10
      Cal. Gov’t Code § 12651(a) ............................................................................... 12, 20
 11
      Cal. Gov’t Code § 12652(d)(3)................................................................................... 5
 12
 13   Cal. Penal Code § 550(a), (b) ................................................................................... 20
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28

                                                       ix
                                  MEMORANDUM OF POINTS AND AUTHORITIES
                          IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
Case 2:17-cv-08726-DSF-AFM Document 42-1 Filed 01/07/20 Page 11 of 36 Page ID
                                 #:1079


  1    I.   INTRODUCTION
  2         The federal False Claims Act (“FCA”) and California False Claims Act
  3   (“CFCA”) impose liability for false statements to government health care programs.
  4   The “public disclosure bar” in these statutes precludes actions based on publicly
  5   available information, such as data acquired through the Freedom of Information Act
  6   (“FOIA”) and news articles. Additionally, the statutes do not apply to billing
  7   mistakes, regulatory violations, non-compliance with billing guidance, or claims
  8   involving private insurance companies.
  9         Although Relator attempts to make sweeping assertions of wide spread
 10   Medicare and Medi-Cal fraud under the FCA and CFCA, the First Amended
 11   Complaint (“FAC”) does not contain any non-public information about a single claim
 12   to the government. Instead, she combines (1) irrelevant details about her own 2012
 13   surgery involving her private insurance company (not a government program) with
 14   (2) public Medicare claims information she obtained from the government through a
 15   FOIA request, to arrive at a single, faulty premise—a corrected mistake in one 2012
 16   case with a private insurance company amounts to fraud in all cases involving state
 17   and federal government programs. Courts around the country have rejected this
 18   flawed logic.
 19         Relator’s FAC is not only barred by statute; it also fails to plead any cognizable
 20   claim for relief. The 123-page FAC does not allege any specific cause of action under
 21   the FCA or CFCA, supply the “who, what, when, where, and how” of Relator’s
 22   specious theories, identify a single false statement to the government, or reference a
 23   solitary claim to Medi-Cal or any other government program. Three state and federal
 24   agencies—the real parties in interest here—have investigated Relator’s baseless
 25   allegations and justifiably declined to intervene five separate times. Accordingly, for
 26   multiple independent reasons outlined below, Stanford Health Care (“SHC”),
 27   Stanford Health Care Advantage (“SHCA”), The Leland Stanford Junior University
 28   (misnamed by Relator), and Debra Zumwalt (“Ms. Zumwalt”) (collectively,

                                                   1
                              MEMORANDUM OF POINTS AND AUTHORITIES
                      IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
Case 2:17-cv-08726-DSF-AFM Document 42-1 Filed 01/07/20 Page 12 of 36 Page ID
                                 #:1080


  1   “Moving Defendants”) move to dismiss the FAC with prejudice.
  2   II.   PROCEDURAL HISTORY AND BACKGROUND
  3         Relator filed her Complaint under seal on December 4, 2017, and attempted to
  4   allege causes of action against multiple defendants under the FCA and California
  5   Insurance Frauds Prevention Act (“IFPA”). ECF No. 1. After months of
  6   investigation, the United States, the State of California, and the Los Angeles County
  7   District Attorney’s Office all declined to intervene. ECF Nos. 10, 12-14.
  8         Undeterred by the government’s disinterest in her allegations or her inexorable
  9   inability to state a claim, Relator filed her FAC on June 22, 2018, adding two
 10   defendants, a claim under the CFCA, and 92 additional pages of disordered
 11   speculation. See ECF Nos. 15-16. She contends that “Stanford,” which she defines
 12   as all 9 named Defendants and 10 “Doe” defendants, engaged in “billing schemes
 13   and habitual submission of false, fraudulent and/or misleading bills” to government
 14   health care programs.1 FAC ¶¶ 2-3, 51, 92. Relator brings nothing original to her
 15   FAC, instead relying on public information and generalizations about her 2012
 16   surgery as a patient with private insurance.2 The government entities again declined
 17   to intervene. ECF Nos. 30-31.
 18         Even with the data she admittedly received from the government through a
 19   FOIA request, Relator cannot identify a single false statement associated with any
 20   of the 21 Medicare cases referenced in the FAC. See FAC ¶¶ 2, 3, 31-33, 40, 42,
 21   47-48, 52, 59-62, 115, 121, 128, 188-90, 208-10, 245-305, 332, 350. Relator also
 22
 23   1
        Relator lists “schemes” like: (1) billing for pre- and post-surgical care in violation
      of the “global surgical fee rule,” FAC ¶¶ 3, 59-62, 115, 188-90, 245-305, 332, 350-
 24   355; (2) overbilling surgical supplies, id. ¶¶ 3, 34, 66-69, 323; (3) overbilling tissue
      pathology codes, id. ¶¶ 3, 34, 66-69, 323; (4) upcoding physician office visits, id. ¶¶
 25   3, 70, 115, 248, 251, 306-11; (5) upcoding mid-level provider services, id. ¶¶ 3, 63-
      65, 191-207, 312-17, 318-321; (6) billing for unsupervised personnel, id. ¶¶ 3, 70,
 26   321-22, 324-326; and (7) always billing for maximum fees, id. ¶¶ 3, 46, 70, 103, 168,
      322, 324-25, 327.
 27   2
        On December 6, 2019, Relator voluntarily dismissed her IFPA claims (Count II),
      her sole cause of action related to her 2012 surgery and allegations about claims to
 28   private, non-government insurance companies. ECF No. 35.
                                                 2
                            MEMORANDUM OF POINTS AND AUTHORITIES
                    IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
Case 2:17-cv-08726-DSF-AFM Document 42-1 Filed 01/07/20 Page 13 of 36 Page ID
                                 #:1081


  1   fails to: (1) identify any particular cause of action under the FCA or CFCA; (2) offer
  2   non-public information about any Medicare claim; (3) reference even a single claim
  3   submitted to the Medi-Cal program or any other government program; (4) identify
  4   any false statement or misrepresentation to the government; or (5) include the
  5   particularized pleadings required to notify any Defendant of what is being alleged
  6   specifically against it. See, e.g., id.¶¶ 1, 78, 91-92, 106, 117, 124, 133, 151-52, 336-
  7   44, 357-64. Ignoring these fatal and incurable deficiencies, Relator instead offers
  8   rambling and redundant conjecture about “Stanford’s” business operations, repeats
  9   publicly available information, and makes unsupported generalizations about her
 10   2012 surgery (which did not involve a single claim to a government entity).3
 11   III.   LEGAL STANDARD
 12       A. Federal Rules of Civil Procedure (“Rule”) 8(a) and 12(b)(6)
 13          Consistent with Rule 8(a), a relator must “plead plausible allegations” to
 14   survive dismissal under Rule 12(b)(6). Cafasso v. Gen. Dynamics C4 Sys., Inc., 637
 15   F.3d 1047, 1055 (9th Cir. 2011) (citing Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)).
 16   To meet this standard, there must be “factual content that allows the court to draw
 17   the reasonable inference that the defendant is liable for the misconduct alleged.”
 18   Iqbal, 556 U.S. at 678. As here, “[t]hreadbare recitals of the elements of a cause of
 19   action, supported by mere conclusory statements, do not suffice.” Id.
 20       B. Rule 9(b)
 21          Allegations under the FCA and CFCA must also satisfy the heightened
 22   standards of Rule 9(b). See Cafasso, 637 F.3d at 1054; United States v. Todd Spencer
 23   M.D. Med. Grp., No. 1:11-CV-1776-LJO-SMS, 2016 WL 7229135, at *5 (E.D. Cal.
 24   Dec. 14, 2016). Rule 9(b) requires a party to “state with particularity the
 25   circumstances constituting fraud or mistake,” Cafasso, 637 F.3d at 1054-55 (citation
 26
      3
       The vast majority of “allegations” in the FAC involve mere speculation about these
 27   topics. See FAC ¶¶ 2-4, 9, 12, 15-18, 21-24, 26-36, 38-39, 43, 46-47, 48-49, 53-55,
      66, 68-69, 70-72, 77-90, 96, 100-02, 108, 110-14, 118-20, 130, 139-40, 144-46, 177,
 28   181-90, 197-203, 219-26, 249-51, 297, 315.
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                            MEMORANDUM OF POINTS AND AUTHORITIES
                    IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
Case 2:17-cv-08726-DSF-AFM Document 42-1 Filed 01/07/20 Page 14 of 36 Page ID
                                 #:1082


  1   omitted), and “an account of the time, place, and specific content of the false
  2   representations as well as the identities of the parties to the misrepresentations,”
  3   Swartz v. KPMG LLP, 476 F.3d 756, 764 (9th Cir. 2007) (internal quotation marks
  4   and citation omitted).
  5   IV.   ARGUMENT
  6         Relator’s FAC must be dismissed for numerous independent and equally
  7   dispositive reasons. First, the “public disclosure bar” compels dismissal of Relator’s
  8   FCA and CFCA claims (Counts I & III) because they are expressly based upon public
  9   sources, including data the government provided in response to Relator’s FOIA
 10   requests, news articles, and other widely disseminated information. Second, Relator’s
 11   entirely speculative FAC does not contain plausible allegations about a single false
 12   statement to the government as required to survive dismissal under Rules 8(a) and
 13   12(b)(6). Third, the FAC does not contain the particularized pleadings of fraud (the
 14   “who, what, when, where, and how”) necessary to withstand dismissal under Rule
 15   9(b). Finally, having voluntarily dismissed her IFPA claims (Count II), Relator cannot
 16   state any claim for relief on her residual state law claims for equitable and declaratory
 17   relief under that same statute (Count IV). Accordingly, the FAC should be dismissed
 18   with prejudice.4
 19         A.     Relator’s FCA and CFCA Claims (Counts I & III) Must be
 20                Dismissed Under the Public Disclosure Bar.
 21         Relator’s entirely unoriginal claims must be dismissed under the “public
 22   disclosure bar” because her allegations are “substantially the same” as information
 23   that was already “publicly disclosed” through the government’s responses to Relator’s
 24
 25   4
        The CFCA is modeled on the FCA, and courts use the same standards and analyses
      to dismiss both FCA and CFCA claims. See, e.g., United States v. Johnson Controls,
 26   Inc., 457 F.3d 1009, 1021 (9th Cir. 2006); United States v. Kiewit Pac. Co., 41 F.
      Supp. 3d 796 (N.D. Cal. 2014); United States v. Sequel Contractors, Inc., 402 F.
 27   Supp. 2d 1142, 1152 (C.D. Cal. 2005); California v. Altus Fin., S.A., 116 P.3d 1175,
      1184 (Cal. 2005). Accordingly, Relator’s CFCA claims must be dismissed for the
 28   same reasons as her FCA claims.
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                            MEMORANDUM OF POINTS AND AUTHORITIES
                    IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
Case 2:17-cv-08726-DSF-AFM Document 42-1 Filed 01/07/20 Page 15 of 36 Page ID
                                 #:1083


  1   FOIA requests, news articles, and other readily available sources. See 31 U.S.C. §
  2   3730(e)(4)(A)(ii)-(iii); Cal. Gov’t Code § 12652(d)(3). She can never be an “original
  3   source” of any of that public information, which is a prerequisite to maintaining a
  4   claim under the FCA or CFCA. See Graham Cty. Soil & Water Conservation Dist. v.
  5   United States ex rel. Wilson, 559 U.S. 280, 285 (2010) (the public disclosure bar
  6   requires dismissal of FCA claims where “the relevant information has already entered
  7   the public domain”).
  8                1.    Relator’s allegations are “substantially the same” as “allegations
  9                      or transactions” previously disclosed through public sources.
 10         Relator affirmatively admits that the FAC is based upon information available
 11   through public channels covered by the FCA’s public disclosure bar. For example,
 12   she avers that she learned of Defendants’ allegedly “fraudulent” claims to the
 13   government by analyzing Medicare claims data the government provided to her in
 14   response to a FOIA request. See FAC ¶¶ 208-10 (alleging she discovered
 15   “institution wide” billing “noncompliance issues” from Medicare claims
 16   information received from the federal government through FOIA request); FAC,
 17   Ex. M (admitting that her allegations are based upon “CMS online and open access
 18   information” and information “obtained through records act requests”). Relator
 19   expressly relies on that information, and parses out 21 line items from it, as the sole
 20   basis for her claim that Defendants submitted allegedly false claims to the Medicare
 21   program.5 See, e.g., FAC ¶ 2 (admitting that FAC is based upon “data mining of
 22   thousands of adjudicated Medicare claims”), ¶ 40 (“Medicare payment ledgers for
 23
 24   5
        As demonstrated below, Relator’s allegations about her 2012 surgery cannot
      support her FCA or CFCA claims because no claims were submitted to any
 25   government health care program for those services. See, e.g., U.S. ex rel. Joseph v.
      Brattleboro Retreat, No. 2:13-CV-55, 2014 WL 3908432, at *11 (D. Vt. Aug. 10,
 26   2014) (“[T]he Complaint makes it clear that these discussions always involved
      commercial insurance overpayments, which do not implicate the FCA.”); United
 27   States ex rel. Frazier v. IASIS Healthcare Corp., 812 F. Supp. 2d 1008, 1017-18 (D.
      Ariz. 2011) (recognizing that allegations about claims submitted to private insurance
 28   companies are “legally irrelevant” to FCA actions).
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                            MEMORANDUM OF POINTS AND AUTHORITIES
                    IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
Case 2:17-cv-08726-DSF-AFM Document 42-1 Filed 01/07/20 Page 16 of 36 Page ID
                                 #:1084


  1   thousands of surgeries show . . . .”), ¶ 47 (“Itemized Medicare billing ledgers for tens
  2   of Stanford surgeons . . . demonstrate . . .”), ¶ 52 (citing attached “excel spreadsheets
  3   of Stanford billing codes per surgeon” from the government), ¶ 121 (“Medicare
  4   overbillings by Stanford revealed in an audit certification conducted by
  5   Plaintiffs . . .”), ¶ 128 (“Stanford surgical providers’ reimbursement data was obtained
  6   and analyzed for representative ones below and attached hereto as exhibits.”), ¶¶ 288,
  7   290 (acknowledging that the referenced Medicare claims come from “CMS
  8   production and payment records”); FAC, Exs. A, B, AA (incorporating FOIA claims
  9   information upon which FAC is based).
 10         There is no question that the Medicare data Relator received through FOIA
 11   request, and upon which she bases her claims, are “public.” See Schindler Elevator
 12   Corp. v. United States ex rel. Kirk, 563 U.S. 401, 416-417 (2011); see also Seal 1 v.
 13   Seal A, 255 F.3d 1154, 1162 (9th Cir. 2001) (“Disclosure of information to one
 14   member of the public, when that person seeks to take advantage of that information
 15   by filing a FCA action, is public disclosure” because Congress did not intend for the
 16   FCA to be “used by people attempting to ‘free ride’ on information obtained from the
 17   government.”). But the FAC does not just rely on public information that invokes
 18   the public disclosure bar under binding Supreme Court precedent, see Schindler,
 19   563 U.S. at 416-17, she also parrots allegations and “facts” from news articles,
 20   unrelated suits, and other publicly available sources.6 See FAC ¶¶ 16, 26-27, 29, 42,
 21
      6
        Aside from Relator’s own legally irrelevant surgical records, every other Exhibit to
 22   the FAC is publicly available. See FAC, Exs. A, B, AA (FOIA response with
      Medicare claims data), Exs. C & EE (California Health Facility Financing
 23   Authority report available at www.treasurer.ca.gov), Ex. I (California Office of
      Statewide Health Planning and Development report available by request at
 24   https://oshpd.ca.gov/data-and-reports/request-data/), Ex. J (Medicare claims data
      available at cms.gov), Exs. P & Q (Medicare claims data available at cms.gov and
 25   published by Wall Street Journal), Ex. R (printout from stanfordhealthcare.org),
      Ex. S (government agency article available at https://www.hcup-us.ahrq.gov), Ex.
 26   T (selected pages from unrelated employment lawsuit), U (article from academic
      journal Lab Medicine), Ex. V (articles from Modern Healthcare and Stanford
 27   Daily), W (FAQs from stanfordhealthcare.com), Ex. Y (article from San Francisco
      Times), Ex. Z (government-published Medicare billing guidance), Ex. CC
 28   (information from surgicalpathology.stanford.edu), DD (materials from public
                                                 6
                            MEMORANDUM OF POINTS AND AUTHORITIES
                    IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
Case 2:17-cv-08726-DSF-AFM Document 42-1 Filed 01/07/20 Page 17 of 36 Page ID
                                 #:1085


  1   44, 58, 96, 168-70, 327. These sources also trigger the public disclosure bar.7 See,
  2   e.g., United States ex rel. Beauchamp v. Academi Training Ctr., 816 F.3d 37, 43 n.6
  3   (4th Cir. 2016) (“Courts have unanimously construed the term ‘public disclosure’ to
  4   include websites and online articles.”); United States ex rel. Osheroff v. Humana,
  5   Inc., 776 F.3d 805, 813 (11th Cir. 2015) (holding that websites are “news media”);
  6   United States v. Honeywell Int’l, Inc., No CV-12-2214 JAK (JCG), 2013 WL
  7   12122693, at *9 (C.D. Cal. Nov. 8, 2013) (same).
  8         Relator’s allegations are more than just “substantially similar to” publicly
  9   disclosed “transactions”—they are expressly based upon them. Relator readily admits
 10   that she infers fraud from public sources, relies exclusively upon those sources for
 11   allegations about claims submitted to the Medicare program, and even admits that
 12   those sources “speak for themselves.” See FAC ¶¶ 2, 31-22, 40, 42, 47-48, 52, 121,
 13   128, 208-09, 288 & 290; FAC, Exs. A, B, AA; Compl. ¶ 73. Thus, Relator’s own
 14   allegations confirm that the public information upon which she bases her claims
 15   contains all the material elements from which she or anyone else may infer that “a set
 16   of misrepresented facts has been submitted to the government.” United States ex rel.
 17   Mateski v. Raytheon Co., 816 F.3d 565, 571 (9th Cir. 2016) (citation omitted).
 18         Because the public sources upon which Relator relies “put the government on
 19   notice to investigate the alleged fraud before [the relator] filed [her] complaint,”
 20
      presentation by Stanford University professor), Ex. FF (article from Modern
 21   Healthcare magazine), Exs. GG & HH (Annual Disclosures available at
      stanfordhealthcare.org). These Exhibits are attached to and incorporated in the
 22   FAC and are thus properly before the Court on Moving Defendants’ Motion. See
      In re NVIDIA Corp. Sec. Litig., 768 F.3d 1046, 1051 (9th Cir. 2014). The sources
 23   from these Exhibits are either apparent from the face of the Exhibit or properly
      subject to Judicial Notice under Federal Rule of Evidence 201. See Gerritsen v.
 24   Warner    Bros. Entm’t Inc., 112 F. Supp. 3d 1011, 1033 (C.D. Cal. 2015).
      7
        Moreover, Relator was an “outsider” to the Medicare data and the other widely
 25   disseminated information upon which she expressly bases her FCA claim; she
      received it through means available to any member of the public, not through an
 26   “insider” relationship with Moving Defendants or the government. See, e.g., United
      States ex rel. Integra Med Analytics LLC v. Providence Health & Servs., No. cv-17-
 27   1694 PSG (SSx)) 2019 WL 3282619, at *7-8 (C.D. Cal. July 16, 2019) (holding that
      the government’s disclosure of Medicare claims data to a relator via special agreement
 28   still constituted a public disclosure and did not make the recipient an “insider”).
                                                 7
                            MEMORANDUM OF POINTS AND AUTHORITIES
                    IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
Case 2:17-cv-08726-DSF-AFM Document 42-1 Filed 01/07/20 Page 18 of 36 Page ID
                                 #:1086


  1   Relator’s reliance on those data invokes the public disclosure bar. U.S. ex rel. Solis v.
  2   Millennium Pharm., Inc., 885 F.3d 623, 627 (9th Cir. 2018); see, e.g., United States
  3   v. Catholic Healthcare W., 445 F.3d 1147, 1151 n.1 (9th Cir. 2006), abrogated on
  4   other grounds by Schindler Elevator Corp., 563 U.S. 401; A-1 Ambulance Serv., Inc.
  5   v. California, 202 F.3d 1238, 1243 (9th Cir. 2000) (“[T]he substance of the disclosure
  6   need not contain an explicit ‘allegation’ of fraud . . . so long as the material elements
  7   of the allegedly fraudulent ‘transaction’ are disclosed in the public domain.”); United
  8   States ex rel. Fine v. Sandia Corp., 70 F.3d 568, 572 (10th Cir. 1995) (noting that the
  9   “‘based upon’ test [should be construed] broadly . . . even those qui tam complaints
 10   which are based only in part upon public disclosures [are barred]” (internal citations
 11   omitted) (emphasis in original)); United States ex rel. Findley v. FPC-Boron
 12   Employees’ Club, 105 F.3d 675, 687 (D.C. Cir. 1997) overruled on other grounds by
 13   United States ex rel. Davis v. District of Columbia, 679 F.3d 832 (D.C. Cir. 2012).
 14   The FAC is subject to dismissal for this reason alone.
 15                2.     Relator is not an “original source” of any information upon
 16                       which a FCA or CFCA claim may be based.
 17         To qualify as an “original source,” a relator must show that she (1) “voluntarily
 18   disclosed to the Government the information on which allegations or transactions in
 19   a claim are based” prior to the public disclosure; or (2) “has knowledge that is
 20   independent of and materially adds to the publicly disclosed allegations or
 21   transactions.” 31 U.S.C. § 3730(e)(4)(B); see United States ex rel. Hartpence v.
 22   Kinetic Concepts, Inc., 792 F.3d 1121, 1128 (9th Cir. 2015). Although Relator makes
 23   a bare recital about her status as an “original source,” FAC ¶ 154, she cannot be an
 24   “original source” of any Medicare claims because the government gave all the
 25   information to her, not the other way around. See United States ex rel. California v.
 26   City of L.A., No. cv-02-02278-SJO (RZx), 2009 WL 10672350, at *5 (C.D. Cal. June
 27   5, 2009), aff'd sub nom. United States ex rel. Mosler v. City of Los Angeles, 414 F.
 28   App’x 10 (9th Cir. 2010). Likewise, she cannot be an “original source” of Medicare

                                                 8
                            MEMORANDUM OF POINTS AND AUTHORITIES
                    IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
Case 2:17-cv-08726-DSF-AFM Document 42-1 Filed 01/07/20 Page 19 of 36 Page ID
                                 #:1087


  1   billing guidance, other FCA suits, news articles, public information about Defendants
  2   and their business activities, or anything else upon which she attempts to base her
  3   FCA claim. See, e.g., United States ex rel. Rosales v. San Francisco Hous. Auth., 173
  4   F. Supp. 2d 987, 997 (N.D. Cal. 2001) (dismissing FCA suit based on allegations
  5   publicly disclosed in a prior lawsuit); United States ex rel. Meyer v. Horizon Health
  6   Corp., 565 F.3d 1195, 1200 (9th Cir. 2009), overruled on other grounds by Kinetic
  7   Concepts, Inc., 792 F.3d 1121 (noting statements made in prior civil complaints are
  8   public disclosures); Hagood v. Sonoma Cty. Water Agency, 81 F.3d 1465, 1473 n. 13
  9   (9th Cir. 1996) (recognizing court filings constitute public disclosures). In short, the
 10   only original information Relator arguably supplies relates to her own surgery as a
 11   commercially insured patient, which cannot support a claim under the FCA or
 12   CFCA.8 See United States v. North Am. Health Care, Inc., 173 F. Supp. 3d 943, 951-
 13   52 (N.D. Cal. 2016) (finding that relator could not be an original source where he did
 14   not provide any material information that was not already public).
 15         Although Relator claims that she is a “certified professional medical coder and
 16   biller” who discovered alleged fraud through “data mining of thousands of
 17   adjudicated Medicare claims,” this does not change the result. FAC ¶¶ 2, 179. The
 18   Ninth Circuit has held that a relator must do more than apply expertise to publicly
 19   disclosed data. In A-1 Ambulance Serv., the relator argued that the public disclosure
 20   bar should not apply because the disclosed transactions did not reveal the conclusion
 21   of fraud. 202 F.3d at 1238. The Court rejected this argument, holding that the “mere
 22
      8
        Relator is also not an “original source” of the publicly disclosed information upon
 23   which she relies because her FAC does not “materially add[] to the publicly disclosed
      allegations or transactions.” See 31 U.S.C. § 3730(e)(4)(B). The dispositive question
 24   is whether publicly disclosed information was “already sufficient to give rise to an
      inference” that Defendants were engaging in the wrongdoing Relator alleges. See
 25   Humana Inc., 776 F.3d at 805; see also United States ex rel. Kraxberger v. Kansas
      City Power & Light Co., 756 F.3d 1075, 1080 (8th Cir. 2014) (relator does not
 26   “materially add” to publicly disclosed allegations when the publicly disclosed
      allegations themselves are sufficient to “raise a reasonable inference of fraud” (citation
 27   omitted)). As shown above, the material facts upon which Relator bases her FCA
      allegations were already disclosed to the public, and she herself made inferences from
 28   the information, just as the government or any other individual could have done.
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                            MEMORANDUM OF POINTS AND AUTHORITIES
                    IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
Case 2:17-cv-08726-DSF-AFM Document 42-1 Filed 01/07/20 Page 20 of 36 Page ID
                                 #:1088


  1   fact that [relator’s] own expertise . . . may have enabled it to formulate its novel legal
  2   theory of fraud is irrelevant to the question of whether the material transactions giving
  3   rise to the alleged fraud were already disclosed in the public domain in the first
  4   place.” Id. at 1245. Accordingly, the Ninth Circuit affirmed dismissal pursuant to the
  5   FCA’s public disclosure bar. Id.; see also United States ex rel. Zizic v.Q2Adm’rs.,
  6   LLC, 728 F.3d 228, 240 (3d Cir. 2013) (“[W]e have repeatedly rejected the
  7   argument that a [relator’s] knowledge is independent when it is gained through the
  8   application of expertise to information publicly disclosed.”); see also United States
  9   ex rel. JDJ & Assocs. LLP v. Natixis, No. 15-cv-5427 (PKC), 2017 WL 4357797, at
 10   *11 (S.D.N.Y. Sept. 29, 2017) (“Just as combining publicly available information
 11   with specialized expertise is not sufficient to overcome the first step of the public
 12   disclosure bar, neither does conducting an analysis based on such expertise qualify a
 13   relator as an original source.”).
 14         Furthermore, although the FAC may outline some data about Defendants’
 15   business operations, the mere addition of background information is insufficient to
 16   qualify Relator as an original source. See United States ex rel. Hastings v. Wells Fargo
 17   Bank, NA Inc., 656 F. App’x 328, 331-32 (9th Cir. 2016) (“Allegations do not
 18   materially add to public disclosures when they provide only background information
 19   and details relating to the alleged fraud.”); United States ex rel. Calva v. Impac Secured
 20   Assets Corp., No. SACV-16-1983-JVS (JCGx), 2018 WL 6016152, at *8 (C.D. Cal.
 21   June 12, 2018) (“[A]dd[ing] detail about the precise methodology [defendants] used .
 22   . . that made the [statements] . . . false” “does not materially add to the public
 23   disclosures”); see also United States ex rel. Winkelman v. CVS Caremark Corp., 827
 24   F.3d 201, 213 (1st Cir. 2016) (“[A] relator who merely adds detail or color to
 25   previously disclosed elements of an alleged scheme is not materially adding to the
 26   public disclosures.”). At most, Relator’s allegations identify some Medicare billing
 27   guidance she claims to be applicable to the publicly available Medicare claims data.
 28   See Ex. Z (incorporating publicly available Medicare billing guidance). But, again,

                                                 10
                            MEMORANDUM OF POINTS AND AUTHORITIES
                    IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
Case 2:17-cv-08726-DSF-AFM Document 42-1 Filed 01/07/20 Page 21 of 36 Page ID
                                 #:1089


  1   this does not materially add to the previous public disclosures and cannot make
  2   Relator an “original source.” U.S. ex rel. Solis v. Millennium Pharm., Inc., 885 F.3d
  3   623, 627 (9th Cir. 2018); United States ex rel. Longstaffe v. Litton Indus., Inc., 296 F.
  4   Supp. 2d 1187, 1194 (C.D. Cal. 2003) (“While [relator] may have identified specific
  5   regulations that were allegedly violated, that detail adds little where . . . [the public
  6   disclosure] was more than enough to put the Government on the track of [the
  7   defendant], and that track would have inevitably led to categorization of the misdeeds
  8   by alleged regulation or statute.”).
  9         Allowing Relator’s suit to proceed “would allow potential qui tam plaintiff[s]
 10   to avoid the public disclosure bar by pleading their complaints with more and more
 11   detailed factual allegations slightly different from more general allegations already
 12   publicly disclosed.” See Dingle v. Bioport Corp., 388 F.3d 209, 215 (6th Cir. 2004).
 13   And “[g]iven that the purpose of the qui tam action is to prosecute fraud of which the
 14   government is unaware, such a result would not advance Congress’ purpose, and
 15   would only multiply the number of parasitic qui tam actions pursued by plaintiffs.”
 16   Id.; see United States ex rel. Lee v. Corinthian Colls., No. cv-07-1984 PSG (MANx),
 17   2013 WL 12114015, at *3 (C.D. Cal. Mar. 15, 2013). The “public disclosure bar”
 18   mandates dismissal of Relator’s FCA and CFCA claims. See Mosler, 414 F. App’x
 19   at 11 (affirming dismissal of CFCA claim under FCA’s public disclosure standards).
 20         B. The FAC Does Not State Any Claim for Relief Under the FCA or
 21             CFCA (Counts I & III).
 22         In addition to being subject to dismissal under the public disclosure bar, the
 23   FAC does not contain the elements of any claim under the FCA or CFCA. To state a
 24   claim under the FCA for the submission of a false claim, a relator must allege “(1) a
 25   false or fraudulent claim (2) that was material to the decision-making process (3)
 26   which defendant presented, or caused to be presented, to the United States for
 27   payment or approval (4) with knowledge that the claim was false or fraudulent.”
 28   Hooper v. Lockheed Martin Corp., 688 F.3d 1037, 1047 (9th Cir. 2012). The FAC

                                                  11
                             MEMORANDUM OF POINTS AND AUTHORITIES
                     IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
Case 2:17-cv-08726-DSF-AFM Document 42-1 Filed 01/07/20 Page 22 of 36 Page ID
                                 #:1090


  1   does none of this, and that is fatal to any claim Relator may attempt to bring under
  2   the FCA or CFCA. See 31 U.S.C. § 3729(a)(1); Cal. Gov’t Code § 12651(a)(1).
  3                1. Relator does not allege any false statement to the government.
  4         The actual submission of a false claim to the government is the sine qua non
  5   of a FCA action. See Cafasso, 637 F.3d at 1055. “It is not enough . . . ‘to describe a
  6   private scheme in detail but then to allege simply and without any stated reason . . .
  7   that claims requesting illegal payments must have been submitted.’” United States ex
  8   rel. Aflatooni v. Kitsap Physicians Serv., 314 F.3d 995, 1002 (9th Cir. 2002) (citation
  9   omitted). A relator must (1) identify specific false claims submitted to the
 10   government or (2) allege “reliable indicia that lead to a strong inference that [false]
 11   claims were actually submitted.” Ebeid ex rel. United States v. Lungwitz, 616 F.3d
 12   993, 998-99 (9th Cir. 2010). Relator does neither.
 13         Relator groups all 19 Defendants, which she collectively calls “Stanford,” and
 14   asserts that they engaged in “billing schemes and habitual submission of false,
 15   fraudulent and/or misleading bills” to government health care programs. FAC ¶ 3.
 16   Despite having received voluminous Medicare claim information from the
 17   government through FOIA request, Relator cannot cite even one allegedly “false”
 18   claim in support of six of her seven imagined “schemes.”9 Instead, she unsuccessfully
 19   attempts to support those theories with speculative allegations and “calculations”
 20   premised on claims submitted to her own private insurance company. FAC ¶¶ 34,
 21   53-55, 69, 297. She references her surgery extensively and extrapolates liberally to
 22   invent issues where none exist by employing the following faulty logic: a corrected
 23   mistake in one 2012 case with a commercial insurance company equals fraud in all
 24   cases involving government programs. See e.g., id. ¶¶ 2, 315 (all medical records are
 25   bad), ¶¶ 53-55, 66 (mistake in one case means mistakes in all others). But Relator’s
 26   surgery cannot support a claim under the FCA or CFCA because it did not, in fact,
 27
      9
       Relator does not cite a single government claim for “schemes” (2) though (7)
 28   outlined in FAC ¶ 3 and Footnote 1 to this Memorandum.
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                            MEMORANDUM OF POINTS AND AUTHORITIES
                    IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
Case 2:17-cv-08726-DSF-AFM Document 42-1 Filed 01/07/20 Page 23 of 36 Page ID
                                 #:1091


  1   involve a single claim to a government program. See United States v. United
  2   Healthcare Ins. Co., 848 F.3d 1161, 1173 (9th Cir. 2016) (to state a claim, the alleged
  3   conduct must have caused “the Government to pay out money or forfeit moneys due”
  4   (citation omitted)); United States ex rel. Petratos v. Genentech Inc., 855 F.3d 481,
  5   492 (3rd Cir. 2017) (“[T]he alleged fraud must affect the United States’ payment
  6   decision to be actionable”); Aflatooni, 314 F.3d at 1002 (recognizing a FCA claim
  7   must be based on a “call” on the “fisc” of the federal government (citation omitted));
  8   Cafasso, 637 F.3d at 1056 (“[T]o commit conduct actionable under the FCA, one
  9   must, in some way, falsely assert entitlement to obtain or retain government money
 10   or property.”); see also United States v. N. Am. Health Care, Inc., 173 F. Supp. 3d
 11   943, 951-52 (N.D. Cal. 2016) (allegations of false billing to commercial payors
 12   cannot support a FCA claim); Todd v. Fid. Nat’l Fin., Inc., No. 12-cv-00666-REB-
 13   CBS, 2014 U.S. Dist. LEXIS 130256, at *29, 40 (D. Colo. Aug. 19, 2014)
 14   (recommending dismissal of claims based on failure to sufficiently allege nexus with
 15   federal funds).
 16         The only “scheme” for which Relator alleges even a single government claim
 17   is her theory that “Stanford” submitted claims to Medicare “in violation of global
 18   surgery fee rules.” See FAC ¶¶ 2, 3, 59-62, 115, 188-90, 245-305, 332, 350-355. She
 19   lists 21 Medicare cases supposedly supporting this theory. See id. ¶¶ 277-296 (16
 20   cases for Dr. Dirbas), 298-305 (5 cases for Dr. Wheeler); see also id. ¶¶ 56 & 332
 21   (repeating Dr. Dirbas case number 11). Relator alleges that the Medicare cases she
 22   extracted from government-supplied data show pre- or post-operative visits that
 23   might not have complied with Medicare billing rules because the services were
 24   performed too close in time to the surgery. See id. Based on the timing of these claims
 25   alone, Relator concludes that they must be “false claims” and that “Stanford” must
 26   have submitted “false claims” to other government programs too. Id. ¶¶ 315, 331.
 27         Relator’s “global surgery fee rules” theory, however, is critically flawed
 28   because none of her allegations provides reliable indicia to infer that even one of the

                                                 13
                            MEMORANDUM OF POINTS AND AUTHORITIES
                    IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
Case 2:17-cv-08726-DSF-AFM Document 42-1 Filed 01/07/20 Page 24 of 36 Page ID
                                 #:1092


  1   Medicare cases she extracted was “false” (as required by the FCA and CFCA).
  2   Relator acknowledges exceptions to the “global surgery fee rules” that undermine
  3   her position but attempts improperly to shift her pleading burden to Defendants by
  4   assuming that “[t]here is no evidence here that any exceptions applied to any cases.”
  5   See FAC ¶ 269. But none of that is sufficient to plead a “false” claim—it is well
  6   established that merely pleading a methodology by which a defendant could violate
  7   the FCA does not meet the particularity requirement of Rule 9(b). In re Century
  8   Aluminum Co. Sec. Litig., 729 F.3d 1104, 1108 (9th Cir. 2013) (“When faced with
  9   two possible explanations, only one of which can be true and only one of which
 10   results in liability, plaintiffs cannot offer allegations that are ‘merely consistent with’
 11   their favored explanation but are also consistent with the alternative explanation.”
 12   (citing Iqbal, 556 U.S. at 678)); Aflatooni, 314 F.3d at 1002 (“It is not enough [] ‘to
 13   describe a [fraudulent] scheme in detail but then to allege simply and without any
 14   stated reason . . . that claims requesting illegal payment must have been submitted.’”
 15   (citation omitted)); United States ex rel. Crennen v. Dell Mktg. L.P., 711 F. Supp. 2d
 16   157, 162 (D. Mass. 2010) (“Articulating a theory as to how a company could violate
 17   subsection (a)(1), without more, is insufficient to comply with the requirements of
 18   Rule 9(b).”) (citing United States ex rel. Karvelas v. Melrose-Wakefield Hosp., 360
 19   F.3d 220, 234-35 (1st Cir. 2004) (emphasis in original)); see also Cafasso, 637 F.3d
 20   at 1057 (“In light of [relator’s] failure to identify any particular false claims or their
 21   attendant circumstances, as well as the ‘obvious alternative explanation’ that no false
 22   claims occurred, we will not draw the unwarranted and implausible inference that
 23   discovery will reveal evidence of such false claims.”). The FAC should be dismissed
 24   for this reason alone.
 25         Further, even if Relator could credibly allege that a “global surgery fee rule”
 26   exception did not apply to the claims (which she cannot), that would still not be
 27   enough. To allege falsity under the FCA, a relator must allege “a palpably false
 28   statement, known to be a lie when it is made.” United States ex rel. Hendow v. Univ.

                                                  14
                             MEMORANDUM OF POINTS AND AUTHORITIES
                     IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
Case 2:17-cv-08726-DSF-AFM Document 42-1 Filed 01/07/20 Page 25 of 36 Page ID
                                 #:1093


  1   of Phoenix, 461 F.3d 1166, 1172 (9th Cir. 2006); see United States ex rel. Ruhe v.
  2   Masimo Corp., 977 F. Supp. 2d 981, 991 (C.D. Cal. 2013), aff’d, 640 F. App’x 666
  3   (9th Cir. 2016) (recognizing that “false” claims are “intentional, palpable lie[s]”).Yet,
  4   Relator never once explains what is false about any of the cases she pulled from
  5   government-supplied data. FAC ¶¶ 227-305. She merely asserts that the claims were
  6   not separately reimbursable under the “global surgical fee rule” and therefore must
  7   have been false. See, e.g., ¶¶ 11, 59. This, however, does nothing to show “what is
  8   false or misleading about a statement and why it is false” as is required to state a FCA
  9   claim. United Healthcare Ins. Co., 848 F.3d at 1180.
 10         Relator’s entire theory hinges on her flawed assumption that every claim that
 11   is not reimbursable under a Medicare billing rule must also be a “false claim.” See
 12   id. ¶¶ 33 (equating “wrongfully billed” with “subject to FCA”), ¶ 53 (asserting that
 13   mistakes render claims “fraudulent”), ¶¶ 277-305 (resting analysis of all referenced
 14   Medicare cases on the assumption that non-compliance equals FCA liability); see
 15   also id. ¶¶ 14 & 32-33 (basing speculative financial estimates on same assumption),
 16   ¶¶ 35-36 (same), ¶¶ 40-41 (same), ¶ 61 (same), ¶ 69 (same). But merely failing to
 17   comply with a Medicare billing manual—which falls far below the weight given to a
 18   law or regulation—does not mean that the claim was “false” for purposes of the FCA
 19   or CFCA.10 See, e.g., United States ex rel. Hopper v. Anton, 91 F.3d 1261, 1266 (9th
 20   Cir. 1996) (“Violations of laws, rules, or regulations alone do not create a cause of
 21   action under the FCA.”); Masimo Corp., 977 F. Supp. 2d at 991, aff’d, 640 F. App’x
 22   666 (9th Cir. 2016) (“[m]ere regulatory violations, standing alone, do not give rise to
 23   False Claims Act liability”). As the Ninth Circuit has made clear, “[i]t is not the case
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      10
        Medicare billing rules alone cannot be the basis of a FCA enforcement action. See
 25   also Azar v. Allina Health Servs., --- U.S. ---, 139 S. Ct. 1804, 1808, 204 L. Ed. 2d
      139, 144 (2019) (overturning attempted enforcement of Medicare reimbursement
 26   guidance not subject to formal rulemaking process); Polansky v. Exec. Health Res.,
      Inc., No. 12-CV-4239, 2019 WL 5790061, at *12-17 (E.D. Pa. Nov. 5, 2019)
 27   (granting summary judgment on relator’s claims because they rested on Medicare
      billing manuals and billing rules that were not subject to the formal rulemaking
 28   process).
                                                 15
                            MEMORANDUM OF POINTS AND AUTHORITIES
                    IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
Case 2:17-cv-08726-DSF-AFM Document 42-1 Filed 01/07/20 Page 26 of 36 Page ID
                                 #:1094


  1   that any breach of contract, or violation of regulations or law, or receipt of money
  2   from the government where one is not entitled to receive the money, automatically
  3   gives rise to a claim under the FCA.” Anton, 91 F.3d at 1265-66.
  4          Relator’s faulty logic, “possible billing mistake = false claim,” is not only
  5   legally incorrect, it is also wholly insufficient.11 Cafasso, 637 F.3d at 1057 (“This
  6   type of allegation, which identifies a general sort of fraudulent conduct but specifies
  7   no particular circumstances of any discrete fraudulent statement, is precisely what
  8   Rule 9(b) aims to preclude.”); United States ex rel. Gross v. AIDS Research All.-
  9   Chicago, 415 F.3d 601, 603 (7th Cir. 2005) (“The second amended complaint fails
 10   under Rule 9(b) because it does not allege to the required degree of particularity the
 11   false statement or statements made by the defendants, with knowledge of their falsity,
 12   for the purpose of obtaining payment from the government.”). Relator’s FCA and
 13   CFCA claims thus fail because the FAC does not identify any false statement
 14   submitted to the government nor does it contain “particular details” of any scheme to
 15   submit false claims to the government. U.S. ex rel. Solis v. Millennium Pharm., Inc.,
 16   885 F.3d 623, 629 (9th Cir. 2018) (citation omitted). Moreover, Relator’s CFCA
 17   claims fail for the additional reason that Relator never identifies a single claim
 18   submitted to Medi-Cal or any other California government program. See Cal. Gov’t
 19   Code § 12650(b)(1) (recognizing that the CFCA is limited to claims involving the
 20   state or its political subdivisions).
 21                 2.     Relator does not allege knowledge of any false or fraudulent
 22                        statement to the government.
 23          To plead a FCA or CFCA claim, a relator must allege facts sufficient to
 24
 25   11
         Likewise, Relator’s bare assertion that Medicare providers generally “agree to
      abide by the rules, regulations, policies and procedures governing reimbursement” is
 26   not sufficient, FAC ¶ 240, and courts have rejected that such “general sweeping
      language” can satisfy falsity requirements under the FCA, see, e.g., Gonzalez v.
 27   Planned Parenthood of L.A., No. cv-05-8818-AHM-FMOx, 2012 WL 2412080, at
      *7 (C.D. Cal. June 26, 2012); United States ex rel. Cook v. Providence Health &
 28   Servs., No. C13-1312RAJ, 2014 WL 4094116, at *5 (W.D. Wash. Aug. 18, 2014).
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                             MEMORANDUM OF POINTS AND AUTHORITIES
                     IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
Case 2:17-cv-08726-DSF-AFM Document 42-1 Filed 01/07/20 Page 27 of 36 Page ID
                                 #:1095


  1   establish that the defendant acted with “actual knowledge,” “in deliberate ignorance,”
  2   or “in reckless disregard of the truth or falsity” of the information in the claims it
  3   submitted to the government. 31 U.S.C. § 3729(b)(1)(A); Cal. Gov’t Code §
  4   12650(b)(3). As the Supreme Court has recently reaffirmed, this is a “rigorous”
  5   requirement that demands a showing that “the defendant [1] knowingly violated a
  6   requirement [2] that the defendant knows is material to the Government’s payment
  7   decision.” Universal Health Servs., Inc. v. United States ex rel. Escobar, 136 S. Ct.
  8   1989, 1996 (2016). The FAC alleges neither.
  9         The FAC not does not identify even one false claim for payment, much less
 10   contain detailed factual allegations that could support a finding of scienter—whether
 11   based on actual knowledge, deliberate ignorance, or reckless disregard. Relator
 12   simply asserts without support that Defendants acted “knowingly.” See, e.g., FAC ¶¶
 13   52, 93, 273. This bare allegation is insufficient to plead knowledge with sufficiency
 14   to make “entitlement to relief plausible.” United States ex rel. Modglin v. DJO Glob.
 15   Inc., 114 F. Supp. 3d 993, 1012 (C.D. Cal. 2015), aff’d sub nom. United States v.
 16   DJO Glob., Inc., 678 F. App’x 594 (9th Cir. 2017) (finding that “[n]o facts alleged
 17   by relators give rise to a reasonable inference that defendants were on notice they
 18   were filing false claims” because relators failed to establish that defendants’ alleged
 19   behavior violated any laws, and assertions of scienter were thus “too conclusory to
 20   plead a plausible claim for relief, even under the relaxed standard of Rule 8(a)”).
 21   Furthermore, the FAC does not distinguish between any of the 19 listed Defendants
 22   and thus cannot support a plausible inference that any particular Defendant acted with
 23   scienter. See, e.g., United States ex rel. Lee and Mshuja v. Corinthian Colls., 655
 24   F.3d 984, 996 (9th Cir. 2011) (dismissing relator’s FCA allegations because the
 25   complaint did not “clearly allege sufficient facts to support an inference or render
 26   plausible” the suggestion that defendant acted knowingly); see also Sonoma Cty.
 27   Water Agency, 929 F.2d at 1421 (recognizing that allegations must show more than
 28   “[i]nnocent mistake” or “mere negligence”). Thus, in addition to the reasons outlined

                                                 17
                            MEMORANDUM OF POINTS AND AUTHORITIES
                    IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
Case 2:17-cv-08726-DSF-AFM Document 42-1 Filed 01/07/20 Page 28 of 36 Page ID
                                 #:1096


  1   above, Relator’s FCA and CFCA claims must be dismissed because the FAC does
  2   not contain factual allegations to support an inference that any Defendant, of the
  3   many listed and lumped together, acted with knowledge of any false or fraudulent
  4   claim.
  5                 3.    Relator does not plausibly allege the materiality of any allegedly
  6                       false statement.
  7            As the Supreme Court confirmed in Escobar, the FCA’s materiality standard
  8   is “demanding,” and must be supported by particularized allegations in the complaint.
  9   136 S. Ct. at 2003, 2004 n.6. It is not sufficient that the government “would have the
 10   option to decline to pay if it knew of the defendant’s noncompliance.” Id. at 2003.
 11   Instead, to satisfy the FCA’s materiality standard, a complaint must allege with
 12   particularity that the defendant’s supposed violations “are so central . . . that the
 13   [Government] would not have paid these claims had it known of these violations.”
 14   United States ex rel. Swoben v. Scan Health Plan, No. cv-09-5013-JFW, 2017 WL
 15   4564722, at *6 (C.D. Cal Oct. 5, 2017) (quoting Escobar, 136 S. Ct. at 2004).
 16            Even if Relator had alleged a false statement connected with the Medicare
 17   cases she references (which she has not), she has not pled any facts to suggest that
 18   such statements were material to the government’s decision to pay the claims. United
 19   States ex rel. Martinez v. Orange Cty. Glob. Med. Ctr., Inc., No. 8:15-cv-
 20   01521JLSDFM, 2017 WL 9482462, at *2 (C.D. Cal. Sept. 14, 2017) (“Although a
 21   false claim need not be submitted directly to the United States to trigger liability under
 22   the False Claims Act, it must be material to the Government’s payment decision.”
 23   (internal citations omitted)). It is clear from the FAC that: (1) if the government paid
 24   the claims, it did so with at least as much information about them as Relator has here
 25   (because she received all of her information from the government); (2) the
 26   government continued to pay with full awareness of the “global surgical fee rules”
 27   upon which Relator bases her suit; and (3) the government has declined to take any
 28   action on Relator’s allegations. See FAC ¶¶ 208-09, 226, 272-76. Relator cannot

                                                  18
                             MEMORANDUM OF POINTS AND AUTHORITIES
                     IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
Case 2:17-cv-08726-DSF-AFM Document 42-1 Filed 01/07/20 Page 29 of 36 Page ID
                                 #:1097


  1   credibly allege materiality under these circumstances, and, again, the FAC fails. See
  2   Orange Cty. Glob. Med. Ctr., 2017 WL 9482462, at *2 (dismissing claims when
  3   claimant failed to demonstrate materiality because the allegedly false certification did
  4   not have an impact on the Government’s payment decision); United States ex rel.
  5   Folliard v. Comstor Corp., 308 F. Supp. 3d 56, 86 (D.D.C. 2018) (noting that
  6   government’s decision not to intervene cuts against inference that any false
  7   statements were material); United States ex rel. Hartpence v. Kinetic Concepts, Inc.,
  8   No. 208-cv-01885CASAGR, 2019 WL 3291582, at *13 (C.D. Cal. June 14, 2019)
  9   (“[W]here the Government regularly pays a particular type of claim in full despite
 10   actual knowledge that certain requirements were violated, and has signaled no
 11   change in position . . . the government’s payment of the claim would be strong
 12   evidence that the requirements are not material.” (quotations and citations omitted)).
 13         C.     The FAC Falls Far Short of What is Required to Plead FCA or
 14                CFCA Claims (Counts I & III) Under Rule 9(b).
 15         In addition to the many fatal defects discussed above, Relator’s FCA and
 16   CFCA claims must also be dismissed because her sweeping allegations fail to
 17   “allege ‘the who, what, when, where, and how of the misconduct charged,’ including
 18   what is false or misleading about a statement and why it is false.” United Healthcare
 19   Ins. Co., 848 F.3d at 1180 (quoting Ebeid, 616 F.3d at 998). Relator’s FAC does not
 20   comply with that standard in multiple ways, each of which independently compels
 21   dismissal. See, e.g., United States ex rel. Dan Abrams Co. v. Medtronic, Inc., No.
 22   LA-cv-15-01212 JAK, 2017 WL 4023092, at *9 (C.D. Cal. Sept. 11, 2017) (granting
 23   motion to dismiss for insufficient allegations under Rule 9(b)).
 24                1.    The FAC does not identify any specific Defendant’s role in
 25                      Relator’s imagined schemes.
 26         Relator expressly defines all 19 listed Defendants as “Stanford” and then
 27   attempts to make fraud allegations against the entire group without ever attempting
 28   to plead particularized facts about any Defendant. FAC ¶ 1 (referring to Defendants

                                                 19
                            MEMORANDUM OF POINTS AND AUTHORITIES
                    IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
Case 2:17-cv-08726-DSF-AFM Document 42-1 Filed 01/07/20 Page 30 of 36 Page ID
                                 #:1098


  1   as “Stanford et. al”), ¶ 51 (defining Defendants collectively as “Stanford”), ¶ 92
  2   (same), ¶ 172 (same); see generally id. (alleging facts and causes of action against
  3   “Stanford”). But as the Ninth Circuit has made clear, “Rule 9(b) does not allow a
  4   complaint to merely lump multiple defendants together but requires plaintiffs to
  5   differentiate their allegations when suing more than one defendant and inform each
  6   defendant separately of the allegations surrounding his alleged participation in the
  7   fraud.” Swoben, 848 F.3d at 1184 (quoting Corinthian Colls., 655 F.3d at 997-98).
  8   Here, there is no doubt that Relator lumps all Defendants together, including 10
  9   unnamed Doe Defendants, such that no one Defendant can be on notice of what he,
 10   she, or it allegedly did. There is absolutely no “who” required by Rule 9(b) and this
 11   alone compels dismissal. See Kiewit Pac. Co., 41 F. Supp. 3d at 810-11.
 12                2.    The FAC never reveals which of the FCA’s or CFCA’s many
 13                      causes of action Relator is attempting to allege.
 14         While Relator mentions the FCA and CFCA generally, she never once
 15   identifies any specific provision of either statute that Defendants allegedly violated.
 16   See FAC ¶¶ 1, 91, 160, 336-44, 357-64. This deficiency is particularly acute here
 17   because each subsection identifies a distinct cause of action with unique elements,
 18   none of which Relator ever identifies or pleads in the FAC. See 31 U.S.C. §
 19   3729(a)(1)(A)-(G); Cal. Gov’t Code § 12651(a). Relator’s vague reference to two
 20   broad and multifaceted statutes, each containing multiple causes of action, cannot
 21   satisfy liberal “notice pleading” standards, much less the heightened standards
 22   applicable to her claims. See, e.g., DJO Global Inc., 114 F. Supp. 3d at 1011, aff'd
 23   sub nom. United States v. DJO Glob., Inc., 678 F. App’x 594 (9th Cir. 2017)
 24   (collecting cases showing heightened pleading standard applicable to FCA actions).
 25         Instead of identifying any specific cause of action under the FCA or CFCA,
 26   Relator injects further confusion by quoting an unrelated section of the California
 27   Penal Code as the sole basis of her FCA claim. See FAC ¶¶ 338-39 (quoting from
 28   Cal. Penal Code § 550(a), (b) and incorrectly stating that the FCA imposes liability

                                                 20
                            MEMORANDUM OF POINTS AND AUTHORITIES
                    IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
Case 2:17-cv-08726-DSF-AFM Document 42-1 Filed 01/07/20 Page 31 of 36 Page ID
                                 #:1099


  1   for violating “this code section”). Even a cursory review shows that the FCA does
  2   not impose civil liability for alleged violations of the California Penal Code. See 31
  3   U.S.C. § 3729(a)(1)(A)-(G). Thus, Relator completely disregards her obligation to
  4   “plead[] factual content that allows the [C]ourt to draw the reasonable inference that
  5   . . . [each Defendant is] liable for the misconduct alleged.” Iqbal, 556 U.S. at 678.
  6   Instead, each Defendant is left to guess what claims Relator is asserting against it,
  7   providing none of the “what” required under Rule 9(b) and supplying yet another
  8   reason for dismissal. See, e.g., Vess v. Ciba-Geigy Corp. USA, 317 F.3d 1097, 1106
  9   (9th Cir. 2003) (noting that a relator’s FCA claims must “be specific enough to give
 10   defendants notice of the particular misconduct . . . so that they can defend against the
 11   charge and not just deny that they have done anything wrong”); Corinthian Colls.,
 12   655 F.3d at 997-98 (holding that Rule 9(b) requires more than vague and ambiguous
 13   allegations against defendants); Kubin v. Abode Servs. Agency, No. 18-cv-00658-
 14   MEJ, 2018 WL 776355, at *2-3, n.2 (N.D. Cal. Feb. 8, 2018) (noting that fraud-based
 15   claims must pled the “who, what, when, where, and how of the misconduct charged”).
 16                3.     The FAC has no allegations about the majority of Defendants.
 17         The FAC lacks any substantive reference to most Defendants. In fact, aside
 18   from the case caption and a list of who she is trying to sue, Relator never mentions:
 19   Stanford Healthcare Billing Office; The Board of Directors of the Stanford
 20   Healthcare; The Board of Directors of the Lucile Packard Children’s Hospital at
 21   Stanford; The Leland Stanford Junior University; or The Board of Trustees of
 22   Stanford University. See FAC ¶¶ 92, 124, 133. These Defendants have absolutely no
 23   notice of what Relator is attempting to allege against them. See Vess, 317 F.3d at
 24   1106 (recognizing FCA allegations must “be specific enough to give defendants
 25   notice of the particular misconduct . . . so that they can defend against the charge and
 26   not just deny that they have done anything wrong”) (internal quotation marks and
 27   citation omitted). This is yet another reason for dismissal of these Defendants. See
 28   Corinthian Colls., 655 F.3d at 997-98 (affirming dismissal of complaint that failed to

                                                 21
                            MEMORANDUM OF POINTS AND AUTHORITIES
                    IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
Case 2:17-cv-08726-DSF-AFM Document 42-1 Filed 01/07/20 Page 32 of 36 Page ID
                                 #:1100


  1   plead with specificity required by Rule 9(b)).
  2                4.     Relator does not allege one fact that could support liability
  3                       against SHCA.
  4         The FAC does not allege one fact that could support FCA or CFCA liability
  5   against SHCA, which Relator states is a Medicare plan that receives claims and does
  6   not perform medical services or submit claims. See FAC ¶ 117. Taken in the light
  7   most favorable to Relator, the FAC at most alleges that SHCA received claims
  8   submitted to it by the unspecified, collective “Stanford,” a definition which
  9   impossibly includes SHCA itself. See id. However, neither the FCA nor the CFCA
 10   impose liability for receiving allegedly false claims. Otherwise, the government
 11   would be both a plaintiff and defendant in every case. See United States v.
 12   CalPortland Constr., No. cv-16-04479-JFW (SSx), 2018 WL 6262877, at *5 (C.D.
 13   Cal. Mar. 9, 2018) (“The Complaint fails to identify any false claim submitted by
 14   Defendants, merely alleging they have received payments.” (internal quotations
 15   omitted) (emphasis in original)). In addition to all the reasons above, Relator’s claims
 16   against SHCA must be dismissed because the FAC does not allege any facts under
 17   which SHCA could be liable under the FCA or the CFCA.
 18                5.     The FAC alleges nothing more than an impermissible nuisance
 19                       suit against Ms. Zumwalt.
 20         Nothing alleged in the FAC comes even close to stating a FCA or CFCA claim
 21   against Ms. Zumwalt, Stanford University’s General Counsel. Without any
 22   supporting allegations, Relator summarily asserts that Ms. Zumwalt and others were
 23   “accomplices” in “billing frauds” and that she “failed to act ethically or properly, or
 24   to ensure that Stanford complied with its correct coding obligations.” FAC ¶¶ 106,
 25   178. This conclusion is not supported by any factual assertions in the FAC.12 The
 26
      12
         The only other allegations in the FAC that even reference Ms. Zumwalt simply
 27   suggest: (1) Relator contacted Ms. Zumwalt in 2017 and 2018 under yet a different
      alias, FAC ¶¶ 37-39, 104-08, 211-13, 216; (2) Relator related billing concerns under
 28   the guise of settlement in connection with Relator’s previous lawsuit, id. ¶¶ 104-08,
                                                 22
                            MEMORANDUM OF POINTS AND AUTHORITIES
                    IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
Case 2:17-cv-08726-DSF-AFM Document 42-1 Filed 01/07/20 Page 33 of 36 Page ID
                                 #:1101


  1   FAC does not allege that Ms. Zumwalt had any involvement in submitting even one
  2   claim to the government. See generally FAC; CalPortland Constr., 2018 WL
  3   6262877, at *5. Nor does it allege that she treated any patients, created any charts,
  4   performed any coding, or received any reimbursement from the government. See
  5   generally FAC. The “allegations” against Ms. Zumwalt are based on nothing more
  6   than Relator’s generalized dissatisfaction with her failed state court medical
  7   malpractice action, and that is nowhere near enough to state a claim. See, e.g., FAC
  8   ¶¶ 181-87, 214-16.
  9         Courts are especially skeptical of FCA suits against individual defendants in
 10   cases like this, where there are simply no allegations that could support a viable claim.
 11   See Bly-Magee v. California, 236 F.3d at 1014, 1018 (9th Cir. 2001) (“Rule 9(b)
 12   serves . . . also to deter the filing of complaints as a pretext for the discovery of
 13   unknown wrongs, to protect [defendants] from the harm that comes from being
 14   subject to fraud charges, and to prohibit plaintiffs from unilaterally imposing upon
 15   the court, the parties and society enormous social and economic costs absent some
 16   factual basis.” (internal quotations and citations omitted)). Relator cannot in good
 17   faith assert that the General Counsel of a university submitted false claims for
 18   medical services to the government, nor will she ever be able to do so, and her
 19   allegations against Ms. Zumwalt should be dismissed. See United States ex rel.
 20   Grubbs v. Kanneganti, 565 F.3d 180, 191 (5th Cir. 2009); United States v. Chapman
 21   Univ., No. SACV-04-1256 JVS, 2006 U.S. Dist. LEXIS 53686, at *4 (C.D. Cal. May
 22   23, 2006) (“In fraud cases, the who, what, when, where must be laid out before
 23   access to the discovery process is granted.” (emphasis in original) (internal
 24   quotations and citations omitted)).
 25                6.      The FAC is replete with impermissible speculation.
 26
      211-13; (3) Ms. Zumwalt acknowledged receipt of Relator’s communications but
 27   never personally reached back out to Relator, id. ¶¶ 107, 213, 216; and (4) counsel
      for SHC asked Relator to direct all future communications through counsel and not
 28   to Ms. Zumwalt, id. ¶ 109.
                                                 23
                            MEMORANDUM OF POINTS AND AUTHORITIES
                    IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
Case 2:17-cv-08726-DSF-AFM Document 42-1 Filed 01/07/20 Page 34 of 36 Page ID
                                 #:1102


  1         The FAC relies on speculation about “Stanford’s” business operations and
  2   Relator’s own unhinged, back-of-the-conspiratorial-napkin “calculations.” See FAC
  3   ¶¶ 4 (“Stanford Healthcare” is “very expensive”), ¶ 12 (“Stanford” has high
  4   revenues), ¶¶ 22-23 (“Stanford” is profitable), ¶ 24 (“Stanford” is expanding), ¶ 32
  5   (“estimated” overbillings by “Stanford” of 11-15% through application of speculative
  6   and undisclosed methods derived from a single, unrelated case). Relator also
  7   impermissibly bases several allegations “upon information and belief” without
  8   sufficiently stating “a factual basis for that belief.” See, e.g., id. ¶¶ 170, 204, 199,
  9   334-35. She even outright contends that “Stanford” must have committed fraud
 10   simply because Relator refuses to believe otherwise. See, e.g., FAC ¶¶ 23 (assuming
 11   fraud because “Stanford’s” financials “simply defies belief”), ¶ 42 (same), ¶ 196
 12   (assuming “Stanford habitually refuses to properly bill” because Relator’s own
 13   guesses about mid-level work requirements “simply defy belief”), ¶¶ 205-06 (same).
 14         Such speculation falls well short of what the Rules require for pleading FCA
 15   claims and does not establish “more than a sheer possibility that [some unspecified
 16   Defendant] has acted unlawfully.” Iqbal, 556 U.S. at 678; Bell Atl. Corp. v. Twombly,
 17   550 U.S. 544, 555, 127 S. Ct. 1955, 1964, 167 L. Ed. 2d 929 (2007); see Ebeid, 616
 18   F.3d at 1000 (recognizing that a “global indictment” of a defendant’s business does
 19   not satisfy Rule 9(b)); Neubronner v. Milken, 6 F.3d 666, 672 (9th Cir. 1993)
 20   (recognizing that generally “allegations of fraud based on information and belief do
 21   not satisfy Rule 9(b)”); United States v. Ctr. for Diagnostic Imaging, Inc., 787 F.
 22   Supp. 2d 1213, 1221 (W.D. Wash. 2011) (dismissing FCA claims based upon
 23   allegations made on “information and belief” without identifying the factual basis for
 24   the belief.). This is yet another independent reason for dismissal.
 25         D.     Relator’s Remaining State Law Claims (Count IV) Must be
 26                Dismissed.
 27         Relator cannot succeed on her request for declaratory and injunctive relief
 28   under IFPA (Count IV) because she has already dismissed her substantive IFPA

                                                 24
                            MEMORANDUM OF POINTS AND AUTHORITIES
                    IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
Case 2:17-cv-08726-DSF-AFM Document 42-1 Filed 01/07/20 Page 35 of 36 Page ID
                                 #:1103


  1   claims (Count II) and the allegations upon which her request was based. See ECF No.
  2   35. Accordingly, the Court should dismiss Count IV.13
  3         E.     The Court Should Dismiss the FAC with Prejudice.
  4         Allowing a third amendment of Relator’s complaint would be futile because,
  5   as shown above, the “public disclosure bar” prevents her from proceeding and her
  6   allegations are based on fundamentally flawed premises. Since filing this lawsuit,
  7   Relator has had over two years to investigate the facts necessary to support her claims
  8   and has already amended her complaint. Multiple state and federal agencies have also
  9   investigated her allegations, and each has declined to intervene. Yet, despite the time,
 10   resources, and opportunities afforded to Relator, she cannot state any viable claim for
 11   relief or plead any claim with particularity. Because there is no likelihood that
 12   additional amendment could overcome the public disclosure bar or cure the fatal
 13   deficiencies outlined above, and thus any further amendments would be futile, the
 14   FAC should be dismissed with prejudice. See Steckman v. Hart Brewing, Inc., 143
 15   F.3d 1293, 1298 (9th Cir. 1998).
 16    V.   CONCLUSION
 17         For the foregoing reasons, Moving Defendants respectfully request that the
 18   Court grant their Motion to Dismiss and dismiss Relator’s First Amended Complaint
 19   with prejudice.
 20 Dated: January 7, 2020               ALSTON & BIRD LLP
 21                                       By: /s/ Kimberly K. Chemerinsky
 22                                      Attorneys for Moving Defendants
 23                                      STANFORD HEALTH CARE, STANFORD
                                         HEALTH CARE ADVANTAGE, THE
 24                                      LELAND STANFORD JUNIOR
                                         UNIVERSITY, DEBRA ZUMWALT
 25
      13
        Furthermore, even if Relator could state a claim for relief under Count IV, which
 26   she cannot, those claims should still be dismissed for lack of supplemental
      jurisdiction. See Wade v. Regional Credit Ass’n, 87 F.3d 1098, 1101 (9th Cir. 1996);
 27   see also DJO Glob. Inc., 48 F. Supp. 3d at 1410 (declining to exercise supplemental
      jurisdiction over state law claims when granting motion to dismiss FCA claim), aff’d
 28   sub nom. United States v. DJO Glob., Inc., 678 F. App’x 594 (9th Cir. 2017).
                                                 25
                            MEMORANDUM OF POINTS AND AUTHORITIES
                    IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
Case 2:17-cv-08726-DSF-AFM Document 42-1 Filed 01/07/20 Page 36 of 36 Page ID
                                 #:1104



  1                            CERTIFICATE OF SERVICE
  2         I hereby certify that on January 7, 2020, I caused a copy of the
  3   MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF

  4   MOTION TO DISMISS FIRST AMENDED COMPLAINT to be served upon

  5
      the following counsel and parties in interest via the Court’s CM/ECF system and UPS
      overnight delivery:
  6

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                                                  America
 11

 12   /s/ Sean Crain
      Counsel for Moving Defendants
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          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANTS’ MOTION TO
                             DISMISS FIRST AMENDED COMPLAINT
